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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
 Case No.      SACV 18-2309 AG (KESx)                                  Date     January 3, 2019
 Title         PAUL DRISCOLL V. ANAYA LAW GROUP




 Present: The Honorable        ANDREW J. GUILFORD
           Lisa Bredahl                             Not Present
           Deputy Clerk                      Court Reporter / Recorder                 Tape No.
         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


 Proceedings:           [IN CHAMBERS] ORDER FOR EARLY SCHEDULING
                        CONFERENCE
Plaintiff’s complaint concerns issues that Congress has found to be important in an area where
damages are often not substantial. The Court and the parties are required to “secure the just,
speedy, and inexpensive determination” of this case. See Fed. R. Civ. P. 1.

The Court ORDERS Plaintiff, individually or through counsel, to attend a hearing prepared
to review how the Court and the parties can meet this requirement in this case. The Court
further ORDERS Plaintiff to be sure that all parties who have been served or have appeared
receive this order.

If Defendant has been served or has appeared before the date of this hearing, or if justice so
requires, the hearing will be an expedited scheduling conference under Federal Rules of Civil
Procedure 16(b) and 26(f), and the Court ORDERS all parties to attend. The parties aren’t
required to file any documents before this scheduling conference, but are required to confer
to meet the requirements of Rule 26(f).

The Court ORDERS that this hearing take place on January 31, 2019 at 2:00 p.m.

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                                                         Initials of Preparer   lmb

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